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Audra L. Thom son (SBN 218479)
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Duane Morrghs LLP

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Phlladelphla, PA 19103

Telcphcne: 2]5.979.1000

Facslr_nile: 215.979.1020 _

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IFURNEA ~
DED’U`W

Attomeys for Plaintiff

v IN THE UNITED STATES ])ISTRICT COURT
FOR THE CENTRAL ])ISTRICT OF CALIFORNIA
WESTERN ])IVISION, LOS ANGELES

MICHAEL F. CcNSEDINE,tnSu ce c 1561\;@_;,
Commissioner of the Commonwea“: 'h migrv 3 211 1a
F§,.»;

1*}: . .
Pelmsylvania, acting in his Offlcial _ apa §§ MW\:H;¥)

 

as Statutcry Li 1_11dat0r chegicn nsurance»-- a --" j 11
Ccmpany and lllancva Insurance
Company, COMPLAINT
Plaintiff,
V.
I-IRN SERVICES, INC.,
Defendant.

 

Michael F. Ccnsedine, Insurance Commissic:ier of the Commonwealth of

Pelmsylvania, acting in his cft`lcia] capacity as Statutory Liquidator of Legicn

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large deductible reimbursements due to Legion insurance Company (“Legion”) and

 

 

Insurance Company and Villanova Insurance Company (the “Liquidator”), by Way of
complaint against Defend'ant HRN Services`, Inc. (“I-IRN”), avers as follows:
DESCRIPTION OF ACTION

1. In this action, the Liquidator seeks recovery in excess of $500,000 in

Villanova Insurance Company (“Villanova”) as Well as final audited premium due
under insurance policies issued by Legion and Villanova Which HRN has refused to
pay.

PARTIES

2. _ Plaintiff is the Statutory Liquidator of Legion and Villanova pursuant to
the Pennsylvania lnsurance Department Aot and the Orders of the Commonwealth
Court of Pennsylvania dated July 25, 2003. Pursuant to that Act and Orders, Plainti;t`f
is authorized to pursue all claims belonging to Legion and Villanova, for the benefit of
the policyholders, creditors, and the liquidation estates ofLegion and Villanova.

3. Upon information and belief, Defendant HRN is a corporation organized
under the laws of the state of Califomia, is qualified to do business in California and
has a principal place of business at 520 North Brand Blvd, Suite 200, Glendale, CA
913 5 6. ‘

JURISDICTION AN]) VENUE

4. This Court has subject matter jurisdiction_pursuant to 28 U.S.C. §
1332(a)(1) in that the amount in controversy exceeds $75,000 exclusive of interest and
costs and the parties are citizens of different states.

5. Venue is proper in this Court pursuant to 28 U.-S.C. § 1391(a) in that the
Defendant resides or does business in this judicial district and a substantial part of the

events or omissions giving rise to the claims occurred in this district

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FACTUAL BACKGROUND
_ HRN’s Insurance Program

6 . Legion and Villanova issued insurance policies to HRN including§
Without limitation, WC1-1650259 (effective 4/1/01 to 4/1/02), and WC1-1964654 `
(effective 4/1/02 to 4/1/03) (the “Policies”).. The Policy forms are attached hereto as
Exhibits A and B. ‘

7. Each of the Policies had a so-called Large Deductible Endorsement.

8. The Large Deductible Endorsement in the Policies provided that
payments Would be made on behalf of HRN up to policy limits and that HRN Would
reimburse Legion and Villanova for amounts paid on HRN’s behalf as prescribed by
the Endorsement.

9. The amount of the Large Deductible Cap Was $250,000 per occurrence,
but ALA.E above the Deductible Cap Was to be split. 1

10. The Large Deductible Endorsement treated the payment of benefits,
damages, expenses, and other amounts as an advancement of funds on the insured’s _
behalf and created “a legal obligation for reimbursement.” `

1 1. Although the Policies Were collateralized pursuant to_ one or more
Deductible Reirnbursement Policies'issued by Mutual Indemnityl (Bennuda) Ltd., the
Liquidator has been advised that the collateral has been exhausted _

'I`he Appointment of the Liquidator

12. On March 28, 2002, the Commonwealth Court ofPennsylvania issued
orders placing Legion and Villanova in rehabilitation and appointing Plaintiff as
Rehabilitator. A copy of the Rehabilitation Orders for Legion and Vilianova are
attached hereto as EXhibits C and D, respectivelyl '

13. On July 25, 2003, the Commonwealth Court entered orders placing

Legion and Villanova in liquidation and appointing the Insurance Commissioner of

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the Commonwealth of Pennsylvania as Liquidator. A copy of the Liquidation Orders
for Legion and Villanova are attached hereto as Exhibits E and F, respectively
I)amages

14. Funds have been advanced on behalf of I-[RN to pay covered benefits,
damages, and expenses by Legion and Villanova, and/or other entities authorized to
administer Legion and Villanova claims, _Which the Liquidator is entitled to
reimbursement under the Policies.

15. The amount sought in reimbursements from HR_N exceeds the sum of
3500,000. `

16. Defendant also owes the Liquidator for final audited premium on the

_ Policies.

17. After Written demand, HRN has refused to pay or otherwise reimburse

amounts due under the Policies.

18. The Liquidator_ is authorized to and has the duty to seel< reimbursement
of amounts paid on behalf of the HRN under the Policies from the HRN under 40 Pa.
Stat. § 221.23a.

COUNT I
(Reimbursement)

19. The Liquidator alleges the contents of each of the preceding paragraphs
as if fully set forth herein. 7

20. The Large Deductible Endorsement in the Policies created a legal
obligation of reimbursement for payments for covered benefits, damage__s, expenses,
and other amounts made on HRN’s behalf

21 . The Liquidator is entitled to recover under the legal theory of contractual

or quasi-contractual reimbursement all amounts due as reimbursements under then

Policies.

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WHEREFORE, Plaintiff Michael F. Consedine, Insurance Commissioner for
the CommonWealth of Pennsylvania, acting in his official capacity as Statutory
Liquidator of Legion Insurance Company and Villanova Insurance Company,
respectfully requests that this Court enter judgment against HRN Services, Inc. in an
amount in excess of $500,000, plus interest, costs, and attorneys’ fees.

' CoUNr n
` (Claim for Breach of Contract)

22. The Liquidator alleges the contents of each of the preceding paragraphs
as if fully set forth herein.

23. The Policies are valid and binding contracts.

24. Legion and Villanova, and/or other entities authorized to administer
Legion and Villanova claims, made advances on behalf of HRN that are subject to
reimbursement under the Policies. _

25. The Liquidator has made demand that HRN reimburse the amounts
advanced, but HRN has failed to reimburse and failed to pay premium, thereby
breaching its contracts With Legion and Villanova.

26. As a result of HRN’s breaches of contract damages have been suffered in
an amount in excess of $500,000.

WHEREFORE, Plaintiff Michael F. Consedine, Insurance Commissioner for
the Commonwealth of Pennsylvania, acting in his official capacity as Statutory
Liquidator of Legion Insurance Company and Villanova Insurance Company,
respectfully requests that this Court enter judgment against HRN Services, Inc. in an
amount in excess of $500,000, plus interest, costs, and attorneys’ fees.

COUNT III
(Open Book Account)

27. The Liquidator alleges the contents of each of the preceding paragraphs

as if nilly set forth herein.

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28. Legion and/or Villanova and HRN had a financial transaction or
transactions

29. The Liquidator kept and keeps an account or accounts of the debits and
credits involved in the financial transaction or transactions

30. HRN owes the Liquidator in excess of $500,000 on the account or
accounts '

WHEREFORE, Plaintiff Michael F. Consedine, lnsurance Commissioner for
the CommonWealth of Pennsylvania, acting in his official capacity as Statutory
Liquidator of Legion_lnsurance Company and Villanova Insurance Company,
respectfully requests that this Court enter judgment against HRN Serviees, Inc. in an
amount in excess of 3500,000, plus interest, costs, and attorneys’ fees.

COUNT IV
(Equitable Subrogation)

31. The Liquidator alleges the contents of each of the preceding paragraphs
as if fully set forth herein.

32. Funds have been advanced on behalf of HRN to pay covered benefits,
damages, premium, expenses, and other amounts by Legion and Villanova, and/or
other entities authorized to administer Legion and Villanova claims.

33. As such, the obligations ofHRN Were discharged by Legion and
Villanova, and/or other entities authorized to administer Legion and Villanova claims.

34. The Liquidator is entitled to recover premium and the amounts paid
subject to reimbursement under the Policies under the theory of equitable'subrogation._

WHEREFORE, Plaintiff Michael F. Consedine, Insurance Commissioner for
the CommonWealth of Pennsylvania, acting in his official capacity as Statutory
Liquidator ofLegion Insurance` Company and Villanova insurance Company, j
respectfully requests that this Court enter judgment against HRN Services, Inc. in

excess of 3500,000, plus interest, costs, and attomeys’ fees.

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COUNT V
(RestitutionfUnjust Enrichinent)

35. The Liquidator alleges the contents of each of the preceding paragraphs
as if fully set forth herein. f

36. Funds have been advanced under the Policies on behalf of HRN to pay
covered benefits, damages, premium, expenses, and other amounts by Legion and
Villanova, and/or other entities authorized to administer Legion and Villanova claims.

37. Since the parties intended that HRN Would reimburse and pay Legion
and Villanova for amounts subject to reimbursement under the Policies, it Would be
inequitable and unconscionable for HRN to avoid reimbursing the Liquidator.

38. Accordingly, the Liquidator is entitled to recover these amounts under
the equitable theories of restitution and unjust enrichment

WHEREFORE, Plaintiff Michael F. Consedine, lnsurance Commissioner for
the Commonwealth of Pennsylvania, acting in his official capacity as Statutory
Liquidator of Legion Insui'ance Company and Villanova lnsurance CompanyJ
respectfully requests that this Court enter judgment against HRN Services lnc. in

excess of $500,000, plus interest, costs and attorneys’ fees.

Dated; iviay 24, 2012 ' I)U EMoRRisLLP

By: _ . /© -_=-
Audra L. 'I_`h?m so
Attorneys for P a_in iff, Michael F. Consedine
Insurance Commissioner of the Commonvve_afth
of Pennsylvan_ia, acting in his official capacity _
as Statutory Liquidator of Legion lnsurance

- , Company and illanova lnsurance Company
OF COUNSEL

Charlotte E. Thomas (pro hac vice to be filed)
Duane Morr`s LLP

30 _South 17 1 Street

Philadelphia, PA 19103

Telephone: 215.979. 1000

7 Facsimile: 215.979.1020

E-Mail: cthomas@duanemoiris.com
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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE .]UDGE FOR DISCOVERY

This case has been assigned to District Judge Michael Fitzgerald and the assigned
discovery Magistrate Judge is Charles Eick.

The case number on all documents filed With the Court should read as follows:

CV12- 4568 MWF (Ex)

Pursuant to General Order 05-07 of the United States District Court for the Central

District of California, the Magistrate Judge has been designated to hear discovery related
motions.

All discovery related motions should be noticed on the calendar of the Magistrate Judge

NOT|CE TO COUNSEL

A copy of this notice must be served with the summons and complaint on ali defendants (if a removal action is
iiied, a copy of this notice must be served on all piaintiffs).

Subsequent documents must be filed at the following location:

[)(] Western Division L] Southern Division Eastern Division
312 N. Spring St., Rm. G-B 411 West Fourth St.. Rm. 1-053 3470 Twe|fth St., Rm. 134
Los Angeles, CA 90012 Santa Ana. CA 92701-4516 Ri\n=,-rsidel CA 92501

Fal'lure to tile at the proper location will result in your documents being returned lo you.

 

CV-18 (031'06) NOT|CE OF ASS|GNMENT TO UN|TED STATES MAG|STRATE JUDGE FOR D|SCOVERY

Case 2:12-cv-O4568-|\/|WF-E Document 1 Filed 05/24/12 Page 9 ot 11 Page |D #:13
Audra L. Thompson (SBN 218479) ~
DUANE MORRIS LLP
865 S. Figueroa Street, Suite 3100
Los Angeles, CA 90017-5450
Telephone: (213) 689-7400 »
Facsimile: (213) 689-7401
E-mail: AThompson@duanemorris.com

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE NUMBER

 

ICHAEL F. CONSEDINE, Insurance Commissioner
f the Commonwealth of Pennsylvania, acting in his
fficial capacity as Statutory Liquidator of Legion

€§;nsurance Company and Villanova Insurance Company, c v 1 25a g 15 5 6 3 MWP(

fritz PLAINTIFF(s)

 

HRN SERVIC»ES, INC.,
SUMMONS

DEFENDANr(s)_

 

 

TO: DEFENDANT(S): HRN SERVICES, INC.
A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it),‘ you
must serve on the plaintiff an answer to the attached IX complaint E amended complaint
\:] counterclaim l:l cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer

or motion must be served on the plaintiffs attorney, Audra L. Thompson, Whose address is 865 S. Figueroa
Street, Suite 3100, Los Angeles, CA 90017-5450. If you fail to do so, judgment by default will be entered
against you for the relief demanded in the complaint You also must file your answer or motion with the court.

MAY 24 2012 Clcrk, U.S. District

v Court
Dated: By: …
136qu

(Seal ofthe Courlj

[Use 60 days if the defendant is the United States Or a United States agency cr is an ojicer or employee cfthe United States. Allowed
60 days by Rule 12(0)(3)].

 

 
   
 

CV-OlA (10/1 l SUMMONS

 
  

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Case 277:12-cv-O4568-|\/|WF-E Document 1 Filed 05/24/12 Page 10 ot 11 Page |D #:12 l

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET .

I (a) PLAINTIFFS (Check box if you are representing yourself l:l) DEFENDANTS
MICHAEL F. CONSEDINE, lnsurance Commissioner of the HNR SERVICES, INC-
Comrnonwealth ofPennsylvania, acting in his official capacity as

Statutory Liquidator of Legion lnsurance Company and
lanova lnsurance Company,

V§ Attomeys (Finn Name, Address and Telephone Nurnber. If you are representing Attomeys (If Known)

 

 

 

 

 

 

 

 

 

yourself, provide same.) jon M_ Leader
` dra L. Thompson (SBN 218479) Leader Counsel
ane Morris LLP 1990 S. Bundy Drive, #390
S. Figueroa Street, Suite 3100 Los Angeles, CA 90025
os Angeles,- CA 90017-545 0 Tcl.: (310) 696-3300
@ l.: (213) 689-7400 FaX: (213) 639 7401
v
. IS OF JURISDICTION (Place an X in one box only.) III. 'CITIZENSHIP OF PRINCIPAL PARTI'ES - Eor Dj.versity Cases Only
64 (Place an X in one box for plaintiff and one for defendant.D
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13 l Original ij 2 Removed from 1:1 3 Remanded from I___I 4 Reinstated or l:] 5 Transferred from another district (specify): I:] 6 Multi- m 7_l Appea_l to Distn`ct
Proceeding State Court Appellate Court Reopened ' District 'Judge from

Litigation Magistrate Judge
V. REQUESTED ]]\l COMPLAINT: JURY DEMAND: 13 Yes I:] No (Check 'Yes' only if demanded in complaint.)

cLAss AcrIoN under F.R.c.P. 231 l:| Yes § N6 § MoNEY DEMANDED iN CoMPLArNT= s 5 00,000.00 int., costs & fees
\

VI. CAUSE OF ACTION (Cite the U. S. Civil Statute under which you are filing and write a brief statement of cause Do not cite jurisdictional statutes unless diversity.)
Breach- of lnsurance Contract

VII. NATURE OF SUIT (Place an X in one box only.)

 

 

 

 

   
   
 

     
           

     
  

 

 

 

 
 

  
 
  

 

 

 

 

 

  
  

       

  
 

 

        

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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I:] 810 Selective Service Veterans) 1:1 350 MOtOF V€hlcl€ l:l 423 Withdrawal 28

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Exchange Overpayment of Produc_t Liability [:| 620 Other Food & 20 COPyrlghlS

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FoR oFFICE UsE oNLY: case Number: . " _ w ll §§ W 7
AFTER COl\/IPLETING THE FRONT SIDE OF FORM CV-71, COI\IPLETE THE INFORMATION REQUESTED BELOW.
CV-7l (05/08) CIVIL COVER SHEET Pagc l of2

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- CIviL COVER sHEET

VIII(a). l])ENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? ix No |:I Yes
lf yes, list case number(s):

 

VIII(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? No |:I Yes
If yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:

(Check all boxes that apply) 1:1 A. Arise from the same or closely related transactions, happenings, or events; or
l:l B. Call for determination of the same or substantially related or similar questions of law and fact; or
l:l C. For other reasons would entail substantial duplication of labor if heard by different judges ; or
l:l D. Involve the same patent, trademark or copyright and one of the factors identified above in a, b or c also is present

 

 

lX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District; Calif`ornia County outside of this District; State if other than Califomia; or Foreign Country, in which EACH named plaintiff resides.
|:| Check here if the government, its agencies or employees is a named plaintiff If this box is checked, go to item (b).

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

 

Pennsylvania

 

 

 

 

(b) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH named defendant resides
1:\ Check here if the govemment, its agencies or employees is a named defendant If this box is checked, go to item (c).

 

County in this Distnct:* Califomia County outside of this District; State, if other than Califomia; or Foreign Country

 

Los Angeles

 

(c) List the County in this District; California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract ofland involved

 

 

 

 

 

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country
Los Angeles
* Los Angeles, Orange, San Bernardino, Riverside, nt , Santa Barbara, or San Luis Obispo Counties
Note: In land condemnation cases, use the location of th tr t f land involved »-\
x. siGNATURE oF ATToRNEY (oR PRo PER); 7!" l \ Date May 291 2012

 

Audra L. Thompson j/

Notice to Counsel/Parties: The CV~71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings
or other papers as required by law. This forrn, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3 -1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet (F or more detailed instructions, see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (l\/ledicare) under Title 18, Part A, of the Social Security Act, as amended
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program (42 U.S.C. l935FF(b))

862 BL All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child's insurance benefits based on disability (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended (42 U.S.C. 405(g))

 

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended
865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended (42
U-S-C~ (s))
CV-71 (05/08) CIVIL COVER SHEET ' Page 2 of 2

 

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